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Prob 12B                   UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                           (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                        Melissa Romero

Docket Number:                        1:05CR00161-06 OWW

Offender Address:                     Fresno, California

Judicial Officer:                     Honorable Oliver W. Wanger
                                      Senior United States District Judge
                                      Fresno, California

Original Sentence Date:               June 26, 2006

Original Offense:                     Count 7: 21 USC 841(a)(1), 841(b)(1)(C), and 18 USC 2,
                                      Possession With Intent to Distribute Marijuana and Aiding
                                      and Abetting (CLASS C FELONY)

Original Sentence:                    1 month BOP, 36 months supervised release, $100 special
                                      assessment, and mandatory testing.

Special Conditions:                   1) Search; 2) Financial disclosure; 3) Not possess paging
                                      device or cellular phone; 4) 150 days home detention; 5)
                                      Register as a drug offender; 6) Submit to DNA.

Type of Supervision:                  Supervised Release (TSR)

Supervision Commenced:                August 15, 2006

Assistant U.S. Attorney:              Karen A. Escobar                     Telephone: (559) 497-4000

Defense Attorney:                     Paul E. Caprioglio                   Telephone: (559) 285-0938

Other Court Action:

05/31/2007:                           Probation Form 12B signed by the Court approving
                                      modification of conditions to include drug and alcohol testing.




                                                                                                             R ev. 05/2008
                                                                                V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                                                                                (M O D IFIC A T IO N ).M R G
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RE:    ROMERO, Melissa
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       OF SUPERVISION WITH CONSENT OF THE OFFENDER



                                  PETITIONING THE COURT

To modify the conditions of supervision as follows:


1.     The defendant shall abstain from the use of alcoholic beverages and shall not
       frequent those places where alcohol is the chief item of sale.


2.     As directed by the probation officer, the defendant shall participate in a program of
       mental health treatment (impatient or outpatient).


Justification: On August 24, 2008, the supervisee was arrested by Clovis Police Department for
Driving Under the Influence of Alcohol and/or Drugs, a violation of California Vehicle Code Section
23152 (a)(b). According to the arrest report, the supervisee displayed all symptoms of alcohol
intoxication and failed to perform the standard Field Sobriety Tests (FTS). The supervisee’s Blood
Alcohol Content (BAC) was recorded as .20. The supervisee was released with a notice to appear
in court on October 27, 2008. According to the arrest report, the supervisee admitted drinking six
beers at a bar in Clovis. Although, the supervisee denies having a problem with alcohol, she has
been feeling depressed lately due to having relationship problems with her husband. The supervisee
was planning on separating from her husband the night of her arrest. The couple have decided to
work on their marriage and will be seeking marital counseling. As a result of this arrest, it is
recommended the supervisee refrain from any use of alcoholic beverages and participate in mental
health treatment.


In order to address this violation and issues of accountability, this officer is recommending the Court
modify her conditions of supervision to reflect the above special conditions. Attached is the signed
"Waiver of Hearing to Modify Conditions of Supervised Release..." This modification will allow
the supervisee to remain in the community to resolve her pending case and will allow her to maintain
her employment. In addition, if the supervisee is convicted of Driving Under the Influence, it
appears the sanctions imposed at the local level are sufficient to address this violation. However, the



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supervisee will be advised that failure to resolve her case or any additional noncompliance will result
in court action.



                                       Respectfully submitted,

                                        /s/ Marlene DeOrian

                                       Marlene DeOrian
                             Senior United States Probation Officer
                                    Telephone: 559-499-5729


DATED:         September 19, 2008
               Fresno, California
               MKD


REVIEWED BY:           /s/ Hubert J. Alvarez
                       HUBERT J. ALVAREZ
                       Supervising United States Probation Officer




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THE COURT ORDERS:

( X ) Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:



IT IS SO ORDERED.

Dated: September 26, 2008                      /s/ Oliver W. Wanger
emm0d6                                    UNITED STATES DISTRICT JUDGE




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